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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                               HONORABLE NANCY G. EDMUNDS
vs.                                            Case No.18-cr-20559

D-2   NASSIF SAMI DAHER,

                Defendant.
____________________________/

  STIPULATION FOR ORDER EXTENDING TIME FOR DEFENDANT’S
 REPLY TO DOCKET NUMBER 38, FOR ADJOURNMENT OF THE TRIAL
        DATE, AND FOR FINDING OF EXCLUDABLE DELAY

      The parties to this case, through their undersigned counsel, hereby stipulate

that the defense may file its reply to the Government’s Unclassified Memorandum

in Opposition to Defendant’s Motion to Discover Evidence Secured Pursuant to

FISA (Doc. #38) on or before August 30, 2019, and that the trial, now scheduled

for September 24, 2019, be rescheduled to April 7, 2020;

      The parties stipulate further that the delay from and including September 24,

2019 through April 7, 2020 is necessary to allow counsel for the defendant to

research and prepare the reply described above, which involves

complex issues, and to provide for an adequate period of time for full briefing,

consideration and decision, and, after disposition of said motion, to adequately

prepare for trial in light of the complexity of the issues involved, the unavailability
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of an associate working on this matter for the defense, and the unavailability of co-

counsel in this matter, Roy Carleton Howell, who has faced and faces additional

emergency surgeries for a serious medical condition;

      The parties further stipulate that the period of delay from and including

September 24, 2019 through April 7, 2020 should be excluded from the time

within which this case must be tried pursuant to the Speedy Trial Act because the

reasons for the delay stated above outweigh the best interests of the public and the

defendant in a speedy trial. See, 18 U.S.C. §§ 3161(h)(7)(A), 3161(h)(7)(B)(ii)




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(complex issues to be litigated), and 3161(h)(7)(B)(iv)(continuity of counsel).

                                       Respectfully submitted,

       /s/Cathleen Corken              /s/ Amir Makled
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      /s/Craig A. Weier                /s/ Roy Carleton Howell
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Dated: July 29, 2019




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                               HONORABLE NANCY G. EDMUNDS
vs.                                            Case No.18-cr-20559

D-2   NASSIF SAMI DAHER,

                Defendant.
____________________________/

  ORDER EXTENDING TIME FOR DEFENDANT’S REPLY TO DOCKET
  NUMBER 38, FOR ADJOURNMENT OF THE TRIAL DATE, AND FOR
               FINDING OF EXCLUDABLE DELAY

      The Court, having reviewed and considered the stipulation of the parties

dated July 29, 2019, and it appearing that additional time is necessary to allow

counsel for the defense the opportunity to adequately research and prepare the

reply to the government’s response to a pending motion, which involves

complex issues, and to provide for an adequate period of time for full briefing,

consideration and decision, and, after disposition of said motion, to adequately

prepare for trial in light of the complexity of the issues involved, the unavailability

of an associate working on this matter for the defense, and the unavailability of co-

counsel in this matter, Roy Carleton Howell, who has faced and faces additional

emergency surgeries for a serious medical condition;



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      IT IS NOW THEREFORE ORDERED that the trial in this case be

rescheduled from September 24, 2019 to April 7, 2020;

      IT IS FURTHER ORDERED that the defense may reply to the

government’s response to the pending motion on or before August 30, 2019;

      IT IS FURTHER ORDERED that the delay from and including September

24, 2019 through April 7, 2020 shall be excluded from the time within which this

case must be tried pursuant to the Speedy Trial Act because the Court hereby finds,

for the reasons set forth above, that the reasons for the delay outweigh the best

interest of the public and the defendant in a speedy trial. See, 18 U.S.C. §§

3161(h)(7)(A), 3161(h)(7)(B)(ii) and 3161(h)(7)(B)(iv)(continuity of counsel).

      SO ORDERED.

                                       s/ Nancy G. Edmunds
                                       HONORABLE NANCY G. EDMUNDS
                                       United States District Judge


Dated: July 29, 2019




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